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                                   STATEMENT OF FACTS

       Your affiant, Matthew Hughes, is a Special Agent assigned to Detroit Division, Federal
Bureau of Investigation. Currently, I am tasked with investigating criminal activity in and around
the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detention, investigation, or
prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

Anthony Williams, of Southgate, Michigan, was initially identified as being in the United States
Capitol Building on January 6, 2021, by an online tip provided to the FBI. The tip identified
Anthony Williams by name, stated Williams lives in Michigan and included screenshots of
Williams’ Facebook posts. The individual providing the tip was interviewed telephonically and he
provided descriptions of posts showing Williams inside the Capitol Building but stated he was
unable to provide screenshots as they had been deleted. Using the images provided by the tip
showing the display name of Anthony R. Williams, law enforcement was able to locate a profile
under the same name Anthony R. Williams with posts matching those provided in the tip was
identified. The profile name within the URL for Facebook was identified as
Mr.Anthony.R.Williams with the user identification number of 1220550733.
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       DMV records for Williams contained a driver’s license photo consistent with the photos
provided by the tip identifying Williams at the Capitol. Law enforcement subsequently obtained
records from the Facebook account, as detailed below.

        Law enforcement obtained records showing a phone number ending in -2925 was located
inside the Capitol Building on January 6, 2021. Subscriber records attribute this number to
“Anthony Williams.” The email address vangopainting@yahoo.com was additionally identified in
conjunction with the phone number.
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        Law enforcement also obtained records from the Facebook account associated with
Williams (Username Mr.Anthony.R.Williams). These records include pictures inside the Capitol
likely taken on a device that Williams held inside the Capitol Building, as well as videos showing
him inside the Capitol Building. These images are cited below. In the videos, among other things,
Williams discussed his success in entering the building, saying “desperate times call for desperate
measures.” He also poses next to and around statues and in other areas of the Capitol.
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       In a second video taken outside of the Capitol, Williams discusses how he and others
“stormed” the Capitol and “pushed back the cops.” He also discussed that the police used pepper
spray. Williams claimed that “. . . we took this fucking building.” A still shot of that video is
below. The pictures and videos appear to have been taken using a device carried by Williams.
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        Facebook returns yielded several posts below indicating Williams’ intent to travel to
Washington D.C. to “storm the swamp”, stating “yep, we pissed and we coming to Congress” and
to “[b]e prepared to #FightBack.” On January 5, 2021, Williams posted his location as Bedford
County, Pennsylvania with the caption “Operation Storm the Swamp”, matching a post sent in a
screenshot from the previously identified tip. In a message to another Facebook user, Williams
identifies himself as an “Operation Storm Swamp Veteran” following the events of January 6,
2021.
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         The returns from the Facebook subscriber information showed identifiers known to be
attributed to Anthony Williams. The phone number attributed to the account ending in -2925 and
is registered to Anthony Williams according to database information. A previously identified email
address, vangopainting@yahoo.com, was linked to the account in the subscriber information.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Anthony Williams violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions.

        Your affiant submits there is also probable cause to believe that Williams violated 40
U.S.C. § 5104(e)(2)(D) and 40 U.S.C. § 5104(e)(2)(G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.

        Your affiant submits there is probable cause to believe that Williams violated 18 U.S.C. §
1512(c)(2), which makes it a crime to obstruct, influence, or impede any official proceeding, or
attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official proceedings.
Finally, your affiant submits there is probable cause to believe that Williams violated 18 U.S.C.
Section 2, which makes it a crime to aid or abet the commission of another crime through
counsel, command, induction or procurement.


                                                     _________________________________
                                                     Matthew Hughes
                                                     Special Agent
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 24th day of March 2021.
                                                                             Digitally signed by G. Michael
                                                                             Harvey
                                                                             Date: 2021.03.24 16:54:04 -04'00'
                                                     ___________________________________
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
